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                Exhibit A
 Case 2:23-cv-10513-LJM-KGA ECF No. 46-2, PageID.1910 Filed 09/13/24 Page 2 of 75




 1                    IN THE UNITED STATES DISTRICT COURT
 2                    FOR THE EASTERN DISTRICT OF MICHIGAN
 3                              SOUTHERN DIVISION
 4   _____________________________________________________________
 5   DANIEL REIFF,                         Case No. 23-cv-10513-LJM-JJCG
 6             Plaintiff,                  Hon. Laurie J. Michelson
 7   v
 8   OFFICER BROC SETTY, in his
 9   individual capacity and
10   CLINTON TOWNSHIP,
11             Defendants.
12   ____________________________________________________________
13
14                   ZOOM DEPOSITION OF: TAMMY SUE REIFF
15
16   DATE:      June 10, 2024
17   TIME:      10:05 a.m.
18   LOCATION: 26801 24 Mile Road
19              Chesterfield, Michigan
20   REPORTER: Lori J. Cope, RPR, CSR-4113
21              Appearing remotely from Fremont, Michigan
22
23
24
25
     Case 2:23-cv-10513-LJM-KGA ECF No. 46-2, PageID.1911 Filed 09/13/24 Page 3 of 75




 1      REMOTE APPEARANCES:
 2
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     Case 2:23-cv-10513-LJM-KGA ECF No. 46-2, PageID.1912 Filed 09/13/24 Page 4 of 75




1                                       I N D E X
2      WITNESS:                                                      PAGE
 3           TAMMY SUE REIFF
 4     Examination by Ms. Badalamenti                                  4
5      Examination by Mr. Jones                                       71
6
7
8                             E X H I B I T S
9      NO. PG. IDENTIFICATION
10     1           Photographs
11
12                 (Exhibit 1 received and marked after the conclusion of
13                 the deposition.)
14
15
16
17
18
19
20
21
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24
25
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      DANIEL REIFF vs OFFICER BROC SETTY                                            Job 30645
      REIFF, TAMMY 06/10/2024


1                                                          June 10, 2024
2                                                          10:05 a.m.
3                                                          Chesterfield, Michigan
4                                  ***
5                         THE REPORTER: Would you raise your right hand,
 6           please. Do you swear to tell the truth, the whole truth, and
 7           nothing but the truth?
 8                        MS. REIFF: I do.
 9                        THE REPORTER: Thank you.
10                                 TAMMY SUE REIFF,
11                        after having been duly sworn, was examined and
12                        testified as follows:
13                                       EXAMINATION
14     BY MS. BADALAMENTI:
15     Q.    Good morning, Ms. Reiff.
16     A.    Good morning.
17     Q.    We met before. My name is Raechel Badalamenti and we are
18           going to ask you some questions. Now it is kind of unique on
19           Zoom like this, so a couple extra precautions. One is that we
20           really can't talk over each other in this platform because the
21           court reporter can't get down anything either of us say if we
22           speak over each other. For that --
23     A.    Correct.
24     Q.    For that reason if I interrupt you, can you please make sure
25           that you just wait a second, wave your hands or something, let


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      DANIEL REIFF vs OFFICER BROC SETTY                                    Job 30645
      REIFF, TAMMY 06/10/2024


 1           me know that I have interrupted you, I will back up and make
 2           sure that you can finish what you are saying. Okay?
 3     A.    Uh-huh.
 4     Q.    And, the same thing for me, if you can anticipate what the
 5           rest of my question is going to be, you have to let me ask the
 6           whole question before you start to answer or she won't be able
 7           to get down what you say. Okay?
8      A.    Okay.
9      Q.    Okay. And then we have to verbalize all of our responses. If
10           you say uh-huh or huh-huh, I will correct you, I will say is
11           that a yes or is that a no. And I am not trying to be rude to
12           you --
13     A.    Right.
14     Q.    -- I just want to make sure that we get your actual answer.
15           Okay?
16     A.    Okay.
17     Q.    If you want to take a break, it's the same on this platform as
18           if we were in person, you call the shots, you just let us know
19           that you want to take a break, we will all pause for a minute,
20           and let that -- we will decide what time we will all come back
21           so that you can do that. I would just ask that you answer
22           whatever question is on the floor at the moment and then we
23           will take the break. Okay?
24     A.    Okay.
25     Q.    All right. Can you please state your full name for the


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 1           record?
 2     A.    Tammy Sue Reiff.
 3     Q.    All right.    And your date of birth?
 4     A.
 5     Q.    Okay.     And can I have just the last four of your social
 6           security number?
 7
 8
 9
       A.
       Q.   -And then I have your maiden name as Tammy Hulker, H-u-1-k-e-r.
             Is that right?
10     A.    Actually it's Blankenship
11     Q.    Okay.
12     A.    -- with an E.
13     Q.    Can you spell it for me?
14     A.    B-1-a-n-k -- I'm sorry, i-n-s-h-i-p [sic].     Blankenship.     I
15           don't use it often.
16     Q.    All right.    And have you ever been known by any other names?
17     A.    No.

18     Q.    Okay.     And then I noted that you were at a Chesterfield
19           address right now for the deposition.     Can you give that me
20           that address?
21     A.    ■     -- I'm sorry                   , Chesterfield, Michigan
22           48051.
23     Q.    Do you live there?
24     A.    No.
25     Q.    What is there or where are you doing the deposition?
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 1     A.    A friend, because kids are home from school.
 2     Q.    Okay.     I hear that.
 3                        Okay.    So I have your address as                 in
 4           Chesterfield.        Is that right?
 5     A.    That is correct.
 6     Q.    Okay.     And how long have you lived there?
 7     A.    Three years -- four years.
 8     Q.    Okay.     Who lives there with you?
 9     A.    Daniel.
10     Q.    Anyone else?
11     A.    His sister.
12     Q.    Which one?
13     A.    Adelia.
14     Q.    Okay.     And does Adelia have kids that also live there?
15     A.    She does.
16     Q.    Who, and how old?
17     A.    -          and he is 6.
18     Q.    Okay.     Anyone else live there in the last two years?
19     A.    No.
20     Q.    Okay.     What is Adelia's last name?
21     A.    Reiff.
22     Q.    Okay.     And then before you lived at that address in
23           Chesterfield I have that you lived on                     in
24           Chesterfield.        Is that right?
25     A.    No.
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 1      Q.    Where did you live before that?
 2      A.    I lived on
 3      Q.    Okay.     And how long did you live there?
 4      A.    About two years.
 5      Q.    Okay.     Did you go from -            to -
 6      A.    No, that was my daughter's address.
 7      Q.    Oh, okay.     Which daughter?
 8      A.    Adelia.
 9      Q.    And have you ever lived outside the State of Michigan?
10      A.    As a child, yes.
11      Q.    What states?
12      A.    Arkansas, Nebraska, South Dakota, and Montana.
13      Q.    Okay.     All right.   Are you currently married?
14      A.    No.
15      Q.    When is the last time that you were married?
16      A.    2004.
17      Q.    And was that to Richard Reiff?
18      A.    Richard Hulker.
19      Q.    Okay.     And how long were you married to Mr. Hulker?
20      A.    Five years.
21      Q.    One second.
22      A.    Pardon me?
23      Q.    One second.
24                         (Off the record 10:11 to 10:11 a.m. }
25      BY MS. BADALAMENTI:
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     DANIEL REIFF vs OFFICER BROC SETTY                                   Job 30645
     REIFF, TAMMY 06/10/2024


1     Q.    Okay. Sorry about that I had to nearly kill my children. An
2           average day over here.
3                        Anyway, so were you married prior to Mr. Hulker?
4     A.    Yes.
5     Q.    To whom?
6     A.    John Reiff.
7     Q.    Okay. And how long were you married to him?
8     A.    10 years.
9     Q.    For which 10 years?
10    A.    Pardon me?
11    Q.    Do you remember which 10 years, like when were you married and
12          what year were you divorced?
13    A.    1985, and then divorced in '97 I want to say.
14    Q.    Okay. All right. Any other marriages?
15    A.    No.
16    Q.    And then we have talked the about Adelia and Daniel. I
17          understand that you have at least one other daughter. Is that
18          right?
19    A.    That's correct.
20    Q.    And what is her name?
21    A.    Anna-Marie.
22    Q.    And Anna-Marie doesn't live with you. Is that right?
23    A.    That's correct.
24    Q.    What is her name?
25    A.    Williams.


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     DANIEL REIFF vs OFFICER BROC SETTY                                 Job 30645
     REIFF, TAMMY 06/10/2024


 1    Q.    Okay. Does she live in Michigan?
 2    A.    Yes.
 3    Q.    Any other children for you?
 4    A.    No.
 5    Q.    Did you graduate from high school?
 6    A.    I went through 12 years and then some college afterwards.
 7    Q.    Okay. Which high school did you graduate from?
 8    A.    Columbia Falls, Montana. I actually did not get a diploma.
 9    Q.    Did you get a GED or something else?
10    A.    I did not.
11    Q.    All right. And then you said you attended some college.
12          Where was that?
13    A.    Through the State of Michigan.
14    Q.    So would that have been after you moved back to Michigan?
15    A.    Correct.
16    Q.    And so what years was that?
17    A.    '92/'93, somewhere in that area. I cannot recall a specific
18          date.
19    Q.    Okay. Did you obtain any sort of degree?
20    A.    Certifications.
21    Q.    In what?
22    A.    In property management.
23    Q.    Okay. All right. And what is your current employment?
24    A.    Actually I'm unemployed right now. We -- the business was
25          sold where I worked.


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     DANIEL REIFF vs OFFICER BROC SETTY                                 Job 30645
     REIFF, TAMMY 06/10/2024


 1    Q.    And where was that?
 2    A.    Milestone Motors.
 3    Q.    Milestone Motors?
 4    A.    Correct.
 5    Q.    And where was that?
 6    A.    Chesterfield, Michigan.
 7    Q.    And how long had you worked there?
 8    A.    18 years.
 9    Q.    All right. And so the business was sold. Is it still
10          operating, do you know?
11    A.    Yes.
12    Q.    Under that same name or something else?
13    A.    Something else.
14    Q.    Okay. Do you remember the address?
15    A.    48470 Gratiot Avenue.
16                       MR. PEACOCK: Slow down. A little slower. Can you
17          say that again, please?
18                       THE WITNESS: 48470 Gratiot.
19    BY MS. BADALAMENTI:
20    Q.    Is that Chesterfield?
21    A.    Correct.
22    Q.    Okay. All right. Are you looking for work or are you
23          retired?
24    A.    I'm going to be looking for some work, but I want to take some
25          time off for myself.


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     DANIEL REIFF vs OFFICER BROC SETTY                                 Job 30645
     REIFF, TAMMY 06/10/2024


1     Q.    And when did you separate from Milestone?
2     A.    The beginning of May.
3     Q.    Okay. Have you ever been a party to any lawsuits?
4     A.    Could you clarify?
5     Q.    Yes. Have you ever sued anyone or has anyone ever sued you?
6     A.    No.
7     Q.    Okay. So obviously there would have been two divorce
8           proceedings, right, that you were a part of, but I'm looking
 9          more for --
10    A.    Correct.
11    Q.    -- plaintiff and defendant civil-type lawsuits. Nothing like
12          that?
13    A.    No.
14    Q.    Okay. All right. Your son, Daniel Reiff, is who we are here
15          to talk about. Mr. Reiff, has he ever been married?
16    A.    Yes.
17    Q.    Do you remember the years?
18    A.    I want to say 2010 to 2012.
19    Q.    Okay. Who was he married to?
20    A.    Nicole Cataldo.
21    Q.    And do they share a child?
22    A.    They do, yes.
23    Q.    Is it just one?
24    A.    Yes.
25    Q.    And what is his or her name?


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 1   A.   -
 2   Q.   And do you have a relationship with -
 3   A.   I used to.
 4   Q.   Does your son?
 5   A.   No.
 6   Q.   How old is -      now?
 7   A.   13.
 8   Q.   Does Nicole still live in the State of Michigan?
 9   A.   Yes.
10   Q.   When do you think the last time that you spoke to her or -
11        was?
12   A.   -       mother?
13   Q.   Yes.
14   A.   October of 1 22 perhaps.
15   Q.   Okay.   Did something occur that led to the break in your
16        relationship with Nicole or -
17   A.   Yes.
18   Q.   What happened?
19   A.   When Dan received his social security and wasn't able to --
20        not wasn't able -- did not have to pay child support, she
21        became angry and took it out on me and told me I can never see
22
23
24
     Q.
     A.
          -
          Prior to that date in 2022 had your son seen -
          No.

25   Q.   Okay.   Do you want to take a minute, or are you okay?
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 1   A.   I need a minute.
 2                     MS. BADALAMENTI:   Yeah.   Okay.   Take your time.   You
 3        know how to mute your computer and turn off.        Take your time
 4        we will come back in a few minutes.
 5                     (Off the record 10:19 to 10:23 a.m.)
 6   BY MS. BADALAMENTI:
 7   Q.   All right.     Does your son Daniel have any other children?
 8   A.   Yes.
 9   Q.   And what are his or her names?
10
11
12
     A.
     Q.
     A.
          -
          Uh-huh.
          That's it.
13   Q.   Okay.     And how old is -
14   A.   Six.
15   Q.   And does Daniel have a relationship with -
16   A.   Yes.
17   Q.   And do you?
18   A.   Yes.
19   Q.   Okay.     Who is -       mother?
20   A.   Sarah Taylor.
21   Q.   And does Sarah live here in Michigan?
22   A.   Yes.
23   Q.   All right.     Has Sarah provided any assistance or been to any
24        medical appointments with Daniel?
25   A.   No.
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 1   Q.   Are Sarah and Daniel in any sort of romantic relationship
 2        still?
 3   A.   No.
 4   Q.   Have they been at any time since April of 2021?
 5   A.   No.
 6   Q.   Has -        lived with you?
 7                     MR. JONES:   Sorry, I just want to place a belated
 8        objection that she may not know the extent of his romantic
 9        relationships.
10                     MS. BADALAMENTI:    Yeah, of course.      Of course.
11   BY MS. BADALAMENTI:
12   Q.   Has -        ever lived -- has -        or Sarah ever lived with you
13        at any point since 2021?
14   A.   No.
15   Q.   Okay.     All right.   So let's talk about Daniel a little bit.
16        Is Daniel still living with you?
17   A.   Yes.
18   Q.   And how long has he lived with you?
19   A.   Since April of 2021.
20   Q.   Do you know where he lived before that?
21   A.   With --
22                     THE REPORTER:     I'm sorry, you muted.
23   A.   Repeat the question.
24   BY MS. BADALAMENTI:
25   Q.   Yeah.     Where did he live before April of 2021?
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     DANIEL REIFF vs OFFICER BROC SETTY                                 Job 30645
     REIFF, TAMMY 06/10/2024


 1    A.    I don't know.
2     Q.    Did you have a relationship during that time period?
3     A.    Yes.
4     Q.    Just not sure where he was living?
5     A.    Correct.
6     Q.    Okay.
7     A.    Friends'.
8     Q.    I'm sorry, go ahead.
9     A.    Friends'.
10    Q.    Okay. And so was he ever living somewhere where you did know
11          like before April 2021?
12    A.    Yes.
13    Q.    How long before that did you know where he was living where it
14          was more --
15    A.    Yes.
16    Q.    When was that?
17    A.    I don't recall the specific dates.
18    Q.    Do you remember where he was living?
19    A.    Probably with his girlfriends. I specifically -- I would just
20          see him outside of his living space.
21    Q.    Okay. Did he -- was there a time period where he lived with
22          Sarah Taylor?
23    A.    Yes.
24    Q.    Do you know how long that was, like was it a number of months
25          or years?


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     DANIEL REIFF vs OFFICER BROC SETTY                                 Job 30645
     REIFF, TAMMY 06/10/2024


1     A.    Perhaps a year.
2     Q.    All right. When is the last time before April 2021 that he
3           lived with you?
4     A.    Before he was married.
5     Q.    All right. And how old was he when he was married, do you
6           remember?
7     A.    Not off the top of my head unless I do calculations.
8     Q.    Okay. Have you --
9     A.    Maybe 19.
10    Q.    Okay. Had he finished high school?
11    A.    No.
12    Q.    What is the last grade in school that he completed?
13    A.    11.
14    Q.    And what school was that?
15    A.    L'Anse Creuse North.
16    Q.    And so did he live with you after he had dropped out of high
17          school, or did he leave at that point?
18                       MR. JONES: Objection, form.
19    BY MS. BADALAMENTI:
20    Q.    You can answer if you understood it.
21    A.    Repeat the question.
22    Q.    Yeah. I am just wondering did he live with you, did Daniel
23          live with you, after he no longer attended high school, or is
24          that the point in time that he left and started living with
25          girlfriends or friends?


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     DANIEL REIFF vs OFFICER BROC SETTY                                  Job 30645
     REIFF, TAMMY 06/10/2024


1     A.    From what I recall I believe he went to live with girlfriends
2           and friends.
3     Q.    Okay. Are you aware of any other education that Daniel went
4           back to get after he left LCN?
5     A.    I am not aware.
6     Q.    How about since 2021, has he done anything to get a
7           certification or, you know, work retraining, anything like
8           that?
9     A.    No.
10    Q.    All right. When is the last time that you knew he was
11          working?
12    A.    The summer of -- well, the -- perhaps in 2021.
13    Q.    And do you know what he was doing?
14    A.    Roofing.
15    Q.    Had he been doing that for a while?
16    A.    Side jobs, yes.
17    Q.    Okay. Are you aware of any like employer that he reported to
18          every day? When is the last time you remember him having a
19          job like that?
20    A.    2018.
21    Q.    And where was that?
22    A.    Curtis Sod.
23    Q.    And Curtis Sod, is that like landscaping work he was doing?
24    A.    Correct.
25    Q.    Do you know how long he worked there?


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     DANIEL REIFF vs OFFICER BROC SETTY                                  Job 30645
     REIFF, TAMMY 06/10/2024


 1                       MR. JONES: Again, I don't want interrupt, any time
 2          you ask her stuff about this, you know, he is not living with
 3          her, it just calls for speculation. As long as we understand
 4          the speculative questions, I don't want to interrupt your
 5          deposition, but I'll object if she knows that he was going to
 6          work every day for Curtis Sod or what he did there.
 7    BY MS. BADALAMENTI:
 8    Q.    Sure. I want to know what you know.
 9                       MR. JONES: Yep.
10    BY MS. BADALAMENTI:
11    Q.    So understanding that limitation, go ahead. Do you know how
12          long he was at Curtis Sod?
13    A.    One season.
14    Q.    What do you know about any arrests or criminal convictions for
15          Daniel?
16    A.    At what particular time?
17    Q.    At any time. When he lived with you, after he left, more
18          recently, what do you know about any of them?
19    A.    I don't know much about it, but I knew he had some stuff.
20    Q.    Did you ever help, like did you ever post bond or help pay for
21          lawyers, things like that?
22    A.    I posted bond a couple times during his life.
23    Q.    Do you remember when or what it was for?
24    A.    I don't recall what it was for.
25    Q.    Do you remember when?


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     DANIEL REIFF vs OFFICER BROC SETTY                                 Job 30645
     REIFF, TAMMY 06/10/2024


 1    A.    I would be guessing the date if I --
 2    Q.    Are we talking about things that happened more than five years
 3          ago?
 4    A.    Correct.
 5    Q.    More than 10 years ago?
 6    A.    No.
 7    Q.    Okay. All right. Are you aware of any time that he was
8           incarcerated?
9     A.    I was made aware, yes.
10    Q.    Did you ever visit him anywhere?
11    A.    Yes.
12    Q.    Where at?
13    A.    Macomb County.
14    Q.    And do you know what he was there for, what the conviction
15          was?
16    A.    No.
17    Q.    Did you become aware at some point that Daniel was abusing
18          either prescription or street drugs?
19    A.    At any time since now?
20    Q.    Yeah. At any point did you become aware of that?
21    A.    Yes.
22    Q.    Okay. When do you think you first learned that he was abusing
23          drugs?
24    A.    He was a late teen, 19.
25    Q.    And how is it that you became aware?


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 1    A.    Word of mouth, I guess.
 2    Q.    Okay. Was there any point in time where you put him into an
3           inpatient program, anything like that?
4     A.    Yes.
5     Q.    Before 2021 is the time frame that I am looking for.
6     A.    No.
7     Q.    Okay. So before 2021 though you did become aware since he was
8           about 18 or 19 that he was using drugs?
9     A.    Yes.
10    Q.    Okay. And after 2021 you got him some help. Do you remember
11          where and when?
12    A.    In June of '21, I don't remember the facility, but he went
13          there, and then they broke out in COVID, they let him go.
14    Q.    Okay. In June of '21, when you put him inpatient there, what
15          was the issue? Was it drugs, alcohol, both? Were you not
16          sure?
17    A.    Just drugs.
18    Q.    Okay. Was there a point in time before or after 2021 where
19          you knew what kind of drugs, like were these prescription
20          drugs that he was abusing, was it street drugs, did you ever
21          come to know?
22    A.    No.
23    Q.    Okay. After that hospitalization in June of 2021, did you
24          seek further treatment for him?
25    A.    Yes.


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 1    Q.    And is it your understanding that he has not used or abused
 2          drugs since that time?
 3    A.    Correct.
 4    Q.    Okay. And that's about the same time that he moves in with
 5          you. Right?
 6    A.    Correct.
 7    Q.    Okay. Okay. So let me go backwards a little bit before we go
 8          forward. I want to ask you a little bit more about his
 9          background. I have some notes about Daniel's history. Let me
10          start with this. What kind of a student was he?
11    A.    Very popular with the kids, kidding around, joking.
12    Q.    Did he do well with his studies, or did he struggle to keep up
13          with schoolwork?
14    A.    He struggled.
15    Q.    Did there come a point in time before he was 18 where you had
16          gotten some mental health treatment for him or evaluation of
17          him?
18    A.    Yes.
19    Q.    Okay. When do you think that first was?
20    A.    Probably about six.
21    Q.    Okay. And what issues was he having at age six that led you
22          to first seek out some mental health evaluation?
23    A.    To help him stay focused.
24    Q.    Okay. So would this have been like you thought maybe he had
25          an ADD or ADHD, something like that?


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 1    A.    ADHD.
 2    Q.    Okay. Did he end up diagnosed with that?
3     A.    Yes.
4     Q.    At age six?
5     A.    I believe so, somewhere in that time.
6     Q.    Okay. Do you remember, is the treater that you started with
7           at age six, is it someone that you continued with for him?
8     A.    Yes.
9     Q.    And who was that?
10    A.    It was through Havenwyck Hospital.
11    Q.    Okay. All right. When he was -- so he gets diagnosed with
12          ADHD. Does he get on medication at age six for that?
13    A.    Yes. Yes.
14    Q.    And is there a point in time that his mental health treatment
15          or diagnosis changed? And I'm talking about before he is 18.
16    A.    He had other diagnoses along with it.
17    Q.    Okay. What other diagnosis?
18    A.    Anxiety a little bit, ADHD mostly. Just continued therapy for
19          as long as I could help him.
20    Q.    Okay. And so his -- the time that he was 6 until the time
21          that he was -- well, probably 17 when he leaves the 11th grade
22          you have him in some sort of mental health treatment. Is that
23          fair?
24    A.    Relatively, yes.
25    Q.    Okay. And this would have been through Havenwyck?


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 1    A.    Initially.
 2    Q.    Okay. And during that time period is there any sort of
 3          inpatient where he actually goes and stays at Havenwyck or a
 4          related hospital?
 5    A.    From time to time. I don't recall the dates.
 6    Q.    Okay. So I don't have dates either, but I do have that by --
 7          well, no, I don't even have that. I have that there were at
 8          least three inpatient hospitalizations. Does that sound
9           right?
10    A.    Yes.
11    Q.    Okay. Do you remember about his ages when he went
12          inpatient?
13    A.    I don't remember correctly.
14    Q.    Was it throughout his youth, or was there a period of time
15          where, you know, he went inpatient three times in a year?
16    A.    I don't recall three times in a year.
17    Q.    Okay. So it was spread out?
18    A.    Correct.
19    Q.    Was it more when he was a teenager or more when he was
20          younger, or both?
21    A.    Both.
22    Q.    Okay. And when he went inpatient, would there be other
23          diagnoses other than ADHD and anxiety?
24    A.    Not that I can recall.
25    Q.    Did he as a -- before he was 17, so as a youth, was there a


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1           point in time when he ever tried to injure himself?
2     A.    No.
3     Q.    Was there -- were there disciplinary problems at school, like
4           was he suspended or expelled from school?
5     A.    No, not that I recall.
6     Q.    Was there a social worker from the L'Anse Creuse Educational
7           Department that was assigned to help with Daniel's treatment
8           and care?
9     A.    I don't recall.
10    Q.    Do you remember a point in time around 2002 or 2003 where you
11          took him for some neuropsychological testing?
12    A.    Yes.
13    Q.    And what was the findings with that?
14    A.    I don't recall the -- I do not remember the -- it's been so
15          long ago.
16    Q.    Do you remember where you took him?
17    A.    I do not.
18    Q.    All right. As an adolescent, so before he is 18, do you
19          become aware that he is abusing alcohol or drugs at all?
20    A.    No.
21    Q.    There is a lot of references to cutting, that he was cutting
22          himself, cutting his arms. Do you remember anything like
23          that?
24    A.    I do remember. I'm not sure what year.
25    Q.    Okay. But would that have been before he was 18 or after?


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1     A.    I don't know.
2     Q.    Okay. All right. So was he ever suicidal before he was 18
3           that you knew of?
4     A.    I'm not sure of what year.
5     Q.    But it did happen?
6     A.    Yes.
7     Q.    How about after he left your home and he was living with
8           friends or girlfriends, did you become aware of any self-harm
 9          that he inflicted or anything like that?
10    A.    No.
11    Q.    Did you become aware of him being suicidal or being
12          hospitalized for suicidal ideations at any point?
13    A.    No.
14    Q.    How long did -- the ADHD medication, how long was he on
15          that?
16    A.    Maybe age seven.
17    Q.    He stopped taking it?
18    A.    Oh, he stopped taking it? Repeat the question.
19    Q.    Yeah, I know around age six he was diagnosed, so around that
20          time he probably started taking it. Do you remember when he
21          stopped?
22    A.    18.
23    Q.    Okay. Was there ever any other medications before he was 18
24          when he was living with you that he was on for mental
25          health-type issues?


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 1    A.    I don't recall the drugs' name.
 2    Q.    But there was another one?
 3    A.    I would say so.
 4    Q.    Okay. All right. Before he was 18 was there ever an issue
5           with alcohol?
6     A.    Not that I recall.
7     Q.    And how about with any drug overdose, was there any issue with
8           his overdosing on any type of medication or drugs?
9     A.    No.
10    Q.    Did you become aware of an overdose with Daniel after he was
11          18?
12    A.    No.
13    Q.    Has he ever told you about it?
14    A.    No.
15    Q.    So, going back to his education, did he have -- did he have
16          special programming that -- like an IEP?
17    A.    Yes.
18    Q.    Do you remember what the terms of it were?
19    A.    I do not recall.
20    Q.    Did he have a social worker that was assigned to him that was
21          supposed to go to classes with him and things like that?
22    A.    Yes.
23    Q.    When did that start?
24    A.    I don't recall. I just remember.
25    Q.    Okay. I have a note that in 2002 Daniel was under the care of


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1           Dr. Jeffrey London, he was diagnosed with depression and
2           defiant disorder after an incident where he was
3           self-mutilating, starting fires, and assaulting people in your
4           home.
5                        Do you remember that?
6     A.    I do, yes.
7     Q.    This was the third hospitalization I think within a short
8           period of time at Havenwyck. Do you remember that?
9     A.    Yes, but I do not recall the dates.
10    Q.    Okay. So the issues that had led to the first two
11          hospitalizations that predated this, do you remember were the
12          issues with him similar?
13    A.    I don't remember.
14    Q.    In this one where, you know, he was reportedly
15          self-mutilating, do you remember what he was doing to
16          himself?
17    A.    Cutting his arm.
18    Q.    And then he was starting fires. Was that like at your home?
19    A.    Not inside the house, no.
20    Q.    Was it at the school?
21    A.    I don't recall. I would say no.
22    Q.    Okay. And at the time of these hospitalizations he was
23          already in outpatient treatment, right, you were continuing
24          that outpatient?
25    A.    Yes.


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 1    Q.    But this behavior prompted inpatient?
 2    A.    Yes.
 3    Q.    Okay. Were the police ever called to your home to help deal
 4          with Daniel before he was 18?
 5    A.    I don't recall.
 6    Q.    And then we talked about the diagnosis of ADHD and anxiety.
 7          Do you remember any other diagnoses, like was he diagnosed
 8          bipolar, or was he diagnosed with schizophrenia, anything like
 9          that?
10    A.    ADHD, depression. That's all I can think of right now.
11    Q.    Okay.
12                       MR. JONES: Raechel, when you get a chance, I need
13          just two minutes whenever you are --
14                       MS. BADALAMENTI: Yes. Now is a good time because
15          we are about to switch topics. So five minutes, is that
16          enough?
17                       MR. JONES: That's plenty of time, yes.
18                       MS. BADALAMENTI: Okay. I will see everybody back
19          in five.
20                       (Off the record 10:49 to 10:57 a.m.)
21    BY MS. BADALAMENTI:
22    Q.    Okay. So I wanted to talk to you next, Ms. Reiff, about the
23          incident that is the subject of this case. The incident
24          happened on April 2nd of 2021. At that time do you know where
25          your son Daniel was living?


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 1    A.    No.
 2    Q.    Do you know what type of work he was doing at that time?
 3    A.    Roofing.
 4    Q.    Did you know that then, like did you talk about his work then
 5          with him?
 6    A.    About a month prior.
 7    Q.    Okay. So that was going to be my next question is how often
8           did the two of you communicate around this time.
9     A.    Once a week.
10    Q.    And would he come to see you, or would you talk on the
11          phone?
12    A.    Both.
13    Q.    And I know you said you didn't know where he was living. Did
14          you know who he was working for?
15    A.    No.
16    Q.    Did he ask for money when he would see you?
17    A.    Occasionally.
18    Q.    Did he seem to be on drugs or abusing alcohol, anything like
19          that?
20    A.    No.
21    Q.    Did you ever talk to him about his drug use around that
22          time?
23    A.    No.
24    Q.    All right. And so he testified, and I know you were there, so
25          if I say something that I assume you know and you don't know


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1           it, please just correct me. Okay?
2     A.    Yes.
3     Q.    When he testified, he told me that he was with a young man
4           named Ryan on the date of this incident with the police. Did
 5          you know Ryan?
 6    A.    No.
 7    Q.    Had you ever met him or been introduced to him at all?
 8    A.    No.
 9    Q.    Daniel said that he was doing some work, like he had gotten
10          his own job. Do you know him to have been self-employed at
11          that time?
12    A.    Yes.
13    Q.    And would he ever tell you that he needed rides to jobs or
14          anything like that?
15    A.    No.
16    Q.    Were you aware or how did -- when he would come to visit you
17          about once a week, how did he get there? Did he have a car?
18          Did he take the bus? Do you know?
19    A.    He would take the bus.
20    Q.    And did you live on a bus route at the time?
21    A.    Yes.
22    Q.    Did he ever bring any friends with him when he would come to
23          see you?
24    A.    No.
25    Q.    All right. So how is it that you find out that there has been


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 1          this incident with the police?
 2    A.    I received a phone call from the nurse at the hospital.
 3    Q.    Do you know if you were listed as his emergency contact or if
 4          he had actually asked that phone call for you, like did she
 5          say?
 6    A.    She did not say.
 7    Q.    Okay. At any other time that he had been in the hospital
 8          would you have received a call to let you know that he was
 9          or let -- yeah, to let you know that he had been
10          hospitalized?
11    A.    No.
12    Q.    All right. So on this date the nurse calls. Do you remember
13          what hospital it was?
14    A.    McLaren.
15    Q.    And does she call your home, your cellphone, how does she get
16          a hold of you?
17    A.    Cellphone.
18    Q.    Okay. And what does she tell you?
19    A.    That Daniel needed to be picked up, that he was in a horrible
20          incident.
21    Q.    So is she calling you at the time that he is ready to be
22          discharged?
23    A.    Correct.
24    Q.    Okay. Did you ask what -- how long he had been there, or what
25          type of procedures he had undergone, or anything like that in


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 1          that first phone call?
 2    A.    No.
 3    Q.    Okay. And so when are you supposed to pick him up, like is it
4           that day?
5     A.    That day.
6     Q.    Okay. And do you go to pick him up?
7     A.    I do.
8     Q.    Do you talk to him before you get there to pick him up?
9     A.    No.
10    Q.    And so when you get there, do you go into the hospital, or do
11          you just pick him up outside?
12    A.    I meet the nurse outside.
13    Q.    Okay. And then what happens?
14    A.    She tells me what happened.
15    Q.    What did she say?
16    A.    That Daniel lost his eye and there is no way to repair it.
17    Q.    At that point did he still have the physical eye, like did it
18          still need to be removed, or had it already been removed, did
19          she say?
20    A.    It needed to be removed.
21    Q.    So it was that his eye was going to need to be taken out?
22    A.    Correct.
23    Q.    And does she explain to you at all how she thinks this
24          happened?
25    A.    No.


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 1    Q.    Okay. And does she say anything else to you?
2     A.    Not that I recall.
3     Q.    Does she say anything to you about Daniel coming in and
4           reporting that he had swallowed drugs?
5     A.    She did not tell me.
6     Q.    Did she say anything to you about his mental health or his
7           mental health status?
8     A.    No.
9     Q.    Did she ask any questions about mental health treatment?
10    A.    No.
11    Q.    All right. At that point do you go inside the hospital or
12          does Daniel come out?
13    A.    Daniel is wheeled out in a chair.
14    Q.    Okay. Do you know how long he had been there before you got
15          that call?
16    A.    Three days as I was told.
17    Q.    Okay. All right. And were you told how many times he had had
18          surgery in those three days or any of the treatment he had
19          had?
20    A.    Yes.
21    Q.    What were you told?
22    A.    Two times.
23    Q.    Okay. Told two surgeries.
24                       Were you told about any other treatment?
25    A.    No.


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 1    Q.    Were you told about any kind of care he was going to need
 2          going forward?
 3    A.    Yes.
 4    Q.    What were you told about that?
 5    A.    To see a specific doctor to have the inoculation and follow-up
 6          thereafter.
 7    Q.    Okay. And what doctor was that?
8     A.    Dr. Lin.
9     Q.    Is that L-i-n?
10    A.    Correct.
11    Q.    Okay. And Dr. Lin was going to do the inoculation?
12    A.    Correct.
13    Q.    Okay. And was there already like an appointment scheduled for
14          that?
15    A.    Yes.
16    Q.    Okay. When was that supposed to be?
17    A.    For the 7th.
18    Q.    And do you remember what date it was that you actually picked
19          him up?
20    A.    The 4th.
21    Q.    Okay. All right. And there were some photos taken actually
22          inside the hospital. Did you ever come to learn who took
23          those photos?
24    A.    No.
25    Q.    Okay. All right. Prior to the Dr. Lin appointment on the


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 1          7th, is there any medical treatment or care that you see
2           Daniel getting in that time period?
3     A.    Not that I'm aware of.
4     Q.    Okay. How about mental health treatment, does he do anything
5           for his mental health between the 4th when you pick him up and
6           the 7th when he goes in?
7     A.    Not at those times, no.
8     Q.    Okay. So he goes in for the surgery with Dr. Lin. Do you
 9          take him?
10    A.    Yes.
11    Q.    Is the appointment on the 7th, is that actually for the
12          surgery, or is that like a consult?
13    A.    That was the day of the surgery.
14    Q.    Okay. And so you take him there. Correct?
15    A.    Correct.
16    Q.    And you take him home. Right?
17    A.    Correct.
18    Q.    Okay. Prior to taking him to Dr. Lin on the 7th, had you
19          taken any pictures of Daniel after he left the hospital but
20          before he goes in to Dr. Lin?
21    A.    Yes.
22    Q.    Have you provided those photographs to the attorney for
23          Mr. Reiff?
24    A.    Yes.
25    Q.    Okay. And I will go through and figure out which ones are


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1           from you shortly.
2                        All right. So how about after he goes in for the
3           surgery with Dr. Lin, did you take any photographs of him?
4     A.    Yes.
5     Q.    Okay. After he comes out of the inoculation is there a series
6           of after-care instructions that you are given?
7     A.    Yes.
8     Q.    What are you told?
9     A.    Your basic elevate the head, watch for swelling, fever.
10    Q.    Did he have -- did he experience any abnormal reactions after
11          surgery?
12    A.    No.
13    Q.    Okay. And then when is the next time that he has to go for
14          medical follow-up?
15    A.    Seven days later.
16    Q.    Okay. And do you take him to that?
17    A.    Yes.
18    Q.    And is that with Dr. Lin too?
19    A.    Yes.
20    Q.    And what is said at that time? How is he doing?
21    A.    He is doing well.
22    Q.    All right. And is there a plan for a prosthetic at that
23          point?
24    A.    Yes.
25    Q.    Okay. Does Daniel have any other injuries other than this


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 1          issue with his eye?
 2    A.    Fractured skull.
 3    Q.    Are you aware of any treatment for that?
 4    A.    Yes.
 5    Q.    And what happens with that?
 6    A.    He has surgery to put the bones back into place with metal
 7          plates.
 8    Q.    And who is that with?
 9    A.    Dr. Carlos.
10    Q.    And when was that?
11    A.    I don't recall the exact dates, but shortly thereafter.
12    Q.    So after the inoculation with Dr. Lin he has this skull
13          surgery?
14    A.    Correct.
15    Q.    Okay. Is it like a facial reconstruction, or is it actually
16          skull?
17    A.    It's the facial reconstruction of the eye socket.
18    Q.    Okay. All right. Any other surgeries that you become aware
19          of after this date?
20    A.    No.
21    Q.    So it's one surgery with Dr. Carlos. Is that right?
22    A.    Correct.
23    Q.    And one with Dr. Lin?
24    A.    Correct.
25    Q.    Okay.


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 1    A.    Well, Dr. Lin performed the initial surgeries at McLaren.
 2    Q.    But after you become involved with Daniel it's just the one?
 3    A.    Correct.
 4    Q.    Okay. Other than those two surgeries, is there any other
 5          doctor during this time period in April and May of 2021 that
 6          you take Daniel to see?
 7    A.    His regular physician.
 8    Q.    And who is that?
 9    A.    Dr. Salem.
10    Q.    Prior to this time period, when is the last time that Daniel
11          had seen Dr. Salem that you know of?
12    A.    That was a new doctor for him.
13    Q.    Oh, it was a new doctor at this time?
14    A.    Yes.
15    Q.    Okay. Were you seeing Dr. Salem, is that how you decided to
16          use him [sic]?
17    A.    No, she was in his plan.
18    Q.    Okay. So Dr. Salem at that point becomes his primary care
19          physician?
20    A.    Yes.
21    Q.    Were you there when he gave Dr. Salem any sort of history
22          about the last time he had seen a doctor?
23    A.    Yes.
24    Q.    And what was -- when was the last time?
25    A.    Last year sometime, Dr. George.


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 1    Q.    Where is Dr. George out of?
 2    A.    I believe in Warren, but I don't recall exactly.
 3    Q.    Were you a part of that visit with Dr. George, or did you just
 4          hear about it when he gave the history?
 5    A.    Just heard about it.
 6    Q.    All right. Did any of that discussion include the last time
7           that Daniel had had his eyes checked?
8     A.    Repeat that.
9     Q.    Did any of that discussion with Dr. Salem include the last
10          time that he had had an eye exam?
11    A.    Yes.
12    Q.    And what did he say about that?
13    A.    Well, she asked about his eye.
14    Q.    Right. No, I'm sorry, I mean before. Before the incident did
15          he tell Dr. Salem the last time that he had treated with any
16          sort of eye doctor?
17    A.    No.
18    Q.    Okay. Do you know the last time that he treated with an eye
19          doctor before April of 2021?
20    A.    Perhaps the year before.
21    Q.    Do you know with who?
22    A.    SVS Vision.
23    Q.    Which location?
24    A.    Mt. Clemens.
25    Q.    Okay. Did Daniel wear glasses or was he prescribed glasses at


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 1          that time?
2     A.    Yes.
3     Q.    And how long had he been prescribed glasses?
4     A.    Since middle school/grade school.
5     Q.    Did he wear them?
6     A.    Yes.
7     Q.    Did he wear them as an adult?
8     A.    Yes.
9     Q.    Did he have contacts also?
10    A.    No.
11    Q.    All right. When do you take him, if ever, for an eye exam
12          after the incident?
13    A.    Every two years as his plan allows.
14    Q.    And where do you take him?
15    A.    SVS Vision.
16    Q.    The same one?
17    A.    Correct.
18    Q.    Okay. And when you say that he had a skull fracture, did you
19          come to learn where his skull was fractured?
20    A.    Well, it was the eye socket area.
21    Q.    Okay. And then he has facial reconstruction of the eye
22          socket. Is there any other facial reconstruction that you are
23          aware of?
24    A.    No.
25    Q.    All right. And then I have notes here that indicate in


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 1          September of 2021, so a couple months after this incident,
 2          that he ends up inpatient for mental health issues. Do you
3           remember what happened then?
4     A.    Yes.
5     Q.    What do you remember?
6     A.    He jumped in the canal and screamed it's a pool. The
 7          neighbors seen and called people out to help. I was at
8           work.
9     Q.    Okay. Was he under the influence of drugs or alcohol that you
10          came to find out?
11    A.    No.
12    Q.    Were the police called?
13    A.    Yes, to check on him.
14    Q.    Yeah. And do they end up taking him somewhere?
15    A.    To Harbor Oaks.
16    Q.    All right. Do you meet them there?
17    A.    I met them at home. I was called home.
18    Q.    Okay. And so do the police actually take him and petition for
19          his hospitalization, or do you?
20    A.    I petitioned the courts to have him go, and he went via
21          ambulance.
22    Q.    Okay. And so what sort of issues was he having prior to this
23          incident in September?
24    A.    Anxiety.
25    Q.    What else?


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1     A.    Depression.
2     Q.    Was he having -- was he violent?
3     A.    No.
4     Q.    Was he confused?
5     A.    I don't believe so.
6     Q.    And I'm asking because there is some indication that he put
7           his fist through a window, but he didn't remember that he did
8           it, that he was confused on dates. Do you remember any of
 9          these things?
10    A.    I do.
11    Q.    Okay. So what do you remember about them?
12    A.    Just that he was upset.
13    Q.    All right. And at that point does Harbor Oaks find that he is
14          using drugs or alcohol?
15    A.    I don't recall specifically.
16    Q.    Do you remember reporting that he was abusing alcohol?
17    A.    At one point, yes.
18    Q.    Would that have been in September of 2021?
19    A.    It's possible. I don't recall quite.
20    Q.    After that -- or, I'm sorry, how long was he in the
21          hospital?
22    A.    Maybe 30 days.
23    Q.    And then did he continue outpatient treatment once he came
24          out?
25    A.    Yes.


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 1    Q.    The type of treatment that he had, was it a lot like the
 2          treatment that he had had when you had put him inpatient as --
 3          before he turned 18?
 4    A.    No, it was a little bit more vigorously.
 5    Q.    This one?
 6    A.    More frequently, more often.
 7    Q.    The inpatient, or the outpatient?
 8    A.    The outpatient.
 9    Q.    The inpatient, when he had gone before he was 18, was it 30
10          days? 7 days? Do you remember?
11    A.    Seven days that I recall.
12    Q.    Okay. And then the outpatient you said this time was more
13          vigorous, it was more often?
14    A.    Yes.
15    Q.    And so how often was he getting treatment?
16    A.    Once, sometimes twice a week, sometimes three.
17    Q.    Okay. And was he also in some sort of substance abuse
18          program?
19    A.    Correct.
20    Q.    Did he start that in September, or did he start that before?
21    A.    He started that before.
22    Q.    Okay. When do you think?
23    A.    May of 2021.
24    Q.    Where did he start that?
25    A.    BioMed.


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 1    Q.    And so did that continue after this hospitalization, he still
 2          stayed at BioMed?
 3    A.    Correct.
 4    Q.    Okay. So the outpatient mental health treatment is different
 5          from BioMed?
 6    A.    Right. Correct.
 7    Q.    So how many times a week is he going to the substance abuse
 8          treatment program?
 9    A.    Four.
10    Q.    All right. And then how many times a week does he start
11          having outpatient mental health treatment?
12    A.    Once a week.
13    Q.    You said some weeks it was more?
14    A.    Some weeks it was more.
15    Q.    Okay. And would it depend on his needs or his behaviors?
16    A.    Both.
17    Q.    Okay. All right. On the outpatient, do you remember who that
18          was with, was it somebody from Harbor Oaks?
19    A.    It was through -- he started with Helios, then that ended and
20          then he went to a therapist named John, and I forget the name
21          of the office building, but he -- now he is with another lady
22          and continuing to see her. He moved up.
23    Q.    So Helios, where is Helios?
24    A.    New Baltimore, Michigan.
25    Q.    And John, do you remember anything else about John, his last


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 1          name, anything like that?
 2    A.    I don't remember, but I can look it up.
 3    Q.    Okay. We might have that, so I will let your attorney know if
 4          we need it.
 5                       And then you said there was a lady then?
 6    A.    Afterwards. Just recently.
 7    Q.    And what is her name?
 8    A.    I don't recall.
 9    Q.    Okay. That one I'm pretty sure we will need, so that one
10          please provide to your lawyer, we will get it -- or to
11          Daniel's lawyer.
12                       Okay. So once this incident happens, did you become
13          aware of the type of drugs that he was using, that Daniel was
14          using, right before this incident?
15    A.    Yes.
16    Q.    What did you find out?
17    A.    I don't believe it was heroin, but it was something else,
18          pills that you take. I can't remember the name right offhand,
19          right now.
20    Q.    Okay. So and I'm asking because it looks like there was a
21          report in June of 2021 that there was crack and heroin in his
22          system from -- you know, which reads from about 30 to 60 days
23          prior. Does that -- is that a report that you remember?
24    A.    I don't remember the report.
25    Q.    Do you remember getting that information in June of 2021, that


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 1          there was both crack and heroin in his system?
 2    A.    I recall slightly. I didn't know about the crack.
 3    Q.    During any of the medical appointments that you attended did
 4          you remember Daniel reporting to his treaters that he had done
 5          crack even as a youth?
 6    A.    Not that I recall.
 7    Q.    At the time in September of 2021, do you recall telling Harbor
 8          Oaks that he was cutting himself again?
 9    A.    Yes.
10    Q.    And tell me about that. What was he doing?
11    A.    He was cutting his stomach.
12    Q.    And so in this report it indicates that there was a time
13          period after the incident with police and after the
14          inoculation that he was doing well, and then about a month
15          before this hospitalization he starts having these issues.
16          Does that sound right?
17    A.    Correct.
18    Q.    Okay. Did something happen in that month before? So this
19          would be like August of 2021. Did something happen that
20          prompted these, you know, the cutting and abuse of alcohol and
21          things like that?
22    A.    I don't think there was an incident that happened. I think
23          that everything just got into his head that's happened.
24    Q.    Okay. And you remember reporting to Harbor Oaks that he had
25          been drinking a lot of alcohol?


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 1    A.    Correct.
 2    Q.    And he was violent with you, verbally abusive. Do you
 3          remember reporting that?
 4    A.    Yes.
 5    Q.    And he was destructive to property?
 6    A.    Yes.
 7    Q.    Tell me about that. What was he doing?
 8    A.    Well, he broke the window.
 9    Q.    Okay. All right. So -- and then I have that this
10          inpatient -- and you said you thought it was about a month,
11          but I have it from September 24th, 2021 through October 4th of
12          2021. That was his discharge. Does that sound right?
13    A.    That sounds right.
14    Q.    Okay. All right. So tell me a little bit about -- sorry,
15          after the inoculation, other than keeping his head elevated,
16          was there anything else that you were required to do for
17          him?
18    A.    Such as?
19    Q.    I mean anything medical that you had to do for him.
20    A.    Just make sure he had his medication, pick up his
21          medications.
22    Q.    Okay. And then after the surgery with Dr. Carlos, is there
23          any after-care needs that you have to meet for him?
24    A.    Yes.
25    Q.    What do you have to do then?


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 1    A.    Follow-up procedures.
 2    Q.    Like what?
 3    A.    Like make sure everything is okay with it.
 4    Q.    Oh, so you mean you had to take him back to Dr. Carlos to be
 5          evaluated?
 6    A.    Correct.
 7    Q.    Okay. Got it.
 8                       How many follow-up appointments do you think you
 9          had?
10    A.    One or two maybe.
11    Q.    Okay. Are there -- are there any type of like nursing or
12          medical things that you have to do for Daniel after the
13          Dr. Carlos surgery?
14    A.    No, just make sure he has his medication.
15    Q.    Okay. And what medications is he on after Dr. Lin's surgery
16          or after Dr. Carlos's surgery?
17    A.    Mostly just Motrin 800s.
18    Q.    And then how about after he leaves Harbor Oaks, what
19          medications is he on at that point?
20    A.    Well, he is on the methadone. I don't have a list of his
21          medications on me right now, but it was medications to help
22          him.
23    Q.    Was he on methadone before he went into Harbor Oaks, or only
24          after?
25    A.    Before.


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 1    Q.    Did the methadone start when he left the hospital in April?
 2    A.    About a month later.
 3    Q.    Okay. And so who would have prescribed that? What doctor did
4           that?
5     A.    Brian McCarroll at BioMed.
6     Q.    Okay. So does the dosing change or anything after his
7           inpatient at Harbor Oaks?
8     A.    Yeah, he goes down on it.
9     Q.    And any other new medications introduced at that point?
10    A.    Medically, like just medical medications?
11    Q.    Like anything for his mental health, to improve his
12          depression, anything like that.
13    A.    Hydroxyzine, Seroquel. Most of all the medications that he's
14          on now, which my attorney -- the attorney has a list of.
15    Q.    Do you remember when he started the hydroxyzine?
16    A.    I'm going to say in September.
17    Q.    Okay. And the Seroquel?
18    A.    Same.
19    Q.    Okay. So before that he would have been on Motrin after the
20          surgeries and then this -- the methadone. Is that right?
21    A.    Right.
22    Q.    Anything else that you can remember before September?
23    A.    Not that I can remember.
24    Q.    Okay. And is he working at all --
25    A.    No.


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 1    Q.    -- in between -- before the September date?
 2    A.    No.
 3    Q.    Has he worked at all since then?
 4    A.    No.
 5    Q.    And then you said something about social security. Did you
 6          assist him in the process of getting social security
 7          benefits?
 8    A.    An attorney did.
 9    Q.    All right. What was the attorney?
10    A.    Dena (phonetic) -- God bless you. It was the law offices in
11          Southfield. Her name was Dena. She has a real long last
12          name. I can't remember it.
13    Q.    Okay. Do you remember when he got approved for that?
14    A.    October of '22 -- or '23.
15    Q.    Okay. And in October of '23 does he get --
16    A.    Oh --
17    Q.    Sorry.
18    A.    I'm sorry. I'm not sure the exact date, whether it was '22
19          or '23.
20    Q.    Okay. When he gets approved, does he get any back benefits,
21          like does he get benefits from the date of April, or does he
22          just start getting paid going forward?
23    A.    He gets backdated.
24    Q.    Okay. Do you know, was it backdated to April of 2021?
25    A.    I believe so.


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 1    Q.    Okay. Do you know what he receives, how much?
2     A.    941.
3     Q.    How often?
4     A.    A month.
5     Q.    Does he receive any other benefits from any other source?
6     A.    Medicaid.
7     Q.    And did you help him secure Medicaid coverage?
8     A.    Yes.
9     Q.    When did you --
10    A.    No.
11    Q.    Go ahead.
12    A.    He already had it.
13    Q.    Okay. So he has Medicaid at the point in time that all of
14          this happens?
15    A.    Correct.
16    Q.    And is there any medical, like any out-of-pocket medical that
17          you or he had to cover to the best of your knowledge?
18    A.    No.
19    Q.    Okay. Do you remember the reasons why he was provided with
20          social security benefits?
21    A.    His ADHD and the depression and the PTSD.
22    Q.    Okay. Anything else?
23    A.    Not that I can remember without reading the report.
24    Q.    Okay. Do you remember if he went to a new or different doctor
25          to get the report to provide for social security?


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 1    A.    No.
 2    Q.    Do you remember which doctor gave that report?
 3    A.    I do not remember.
 4    Q.    All right. At any point have any of these doctors, Dr. Lin,
5           Dr. Carlos, or his primary care doctor, did they impose any
6           restrictions on his activities?
7     A.    Dr. Salem did.
8     Q.    What did Dr. Salem impose?
9     A.    Not to work, that Daniel could never work.
10    Q.    And when did that decision get made?
11    A.    I believe that was late '21.
12    Q.    Okay. And did she give a reason why?
13    A.    Daniel's PTSD, his depression, his ADHD, and his medical
14          health.
15    Q.    What medical issues, other than what you just described, does
16          he have?
17    A.    Hypertension, and a lot of the other stuff we cleared up
18          through medications.
19    Q.    Can you tell me what he takes for other issues?
20    A.    I would have to look at my medication again and list -- and
21          look. There is 13 medications and it is hard to remember them
22          all.
23    Q.    Okay. And these are the same medications that you gave on a
24          list to the lawyer. Is that right?
25    A.    Correct.


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 1    Q.    Okay. Has anything changed in the last six months?
2     A.    No.
3     Q.    All right. The hypertension, is that under control with the
4           medication, or not really?
5     A.    Not really.
6     Q.    Okay. And how about the PTSD, the depression, and the ADHD,
7           is that controlled with medication, or not really?
8     A.    Sometimes, sometimes not.
9     Q.    Okay. Has Daniel been inpatient for any reason since
10          September of 2021?
11    A.    I don't believe. No. No, I don't recall.
12    Q.    Okay. Has he treated outpatient for his mental health
13          consistently since September of 2021?
14    A.    Yes.
15    Q.    And do you know of a company called Heaven Sent?
16    A.    Yes.
17    Q.    Do you remember what Heaven Sent did?
18    A.    She would come in and help Dan clean up a little bit, help him
19          with his laundry.
20    Q.    Is this like a nurse-type person?
21    A.    Like a home health care.
22    Q.    Okay. And so Heaven Sent would send a woman who would come.
23          How long would she stay?
24    A.    About an hour.
25    Q.    Okay. And how often per week?


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 1    A.    Once.
 2    Q.    Okay. Any other nursing-type services or home health
 3          care-type services like that that Daniel was provided?
 4    A.    No.
 5    Q.    Okay. And how long did Heaven Sent come in, like was that a
 6          six-month thing, a one-year, or do they still come?
 7    A.    It's about one year.
 8    Q.    Okay. And was that after, right after the incident?
 9    A.    Close to.
10    Q.    All right. Are there any other activities that you're aware
11          of that Daniel did before this incident that he doesn't do now
12          other than work?
13    A.    Well, visit with other people.
14    Q.    And so when is the last time that he visited with anyone?
15    A.    Outside his family?
16    Q.    Yep.
17    A.    Prior to the incident.
18    Q.    And when you say outside his family, you mean the immediate
19          family? The extended family? What are you referring to?
20    A.    Like to go see his friends or --
21    Q.    Okay.
22    A.    -- you know, that. Yep.
23    Q.    Did the friends that he had at the time, were they people that
24          contributed to his drug and alcohol use?
25    A.    Some.


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 1    Q.    Are you aware of any friends that he had in April of 2021 that
 2          you knew of that had a good background that didn't contribute
 3          to his drug or alcohol use?
 4    A.    No.
 5    Q.    How about his child's mom, Sarah, does he see her at all?
 6    A.    No, only to pick up his son.
 7    Q.    Okay. All right. Any other activities, social events, things
 8          like that that Daniel does not do now that he was doing before
 9          April of 2021?
10    A.    Not that I recall.
11    Q.    All right. And when he goes to SVS Vision, have you been with
12          him at those appointments?
13    A.    After '21, yes.
14    Q.    Yeah. So after '21, was there any type of deterioration in
15          the eye that he still has?
16    A.    He -- that would be through Dr. Lin, his more in-depth
17          ophthalmologist.
18    Q.    Okay. So to your knowledge is that eye -- has it deteriorated
19          at all since the incident?
20    A.    Dr. Lin told me that there was a slight deterioration in the
21          right eye, and that they would keep watch on it.
22    Q.    Okay. Any follow-up to like that, like has he told you it has
23          gotten worse, or better, or anything like that?
24    A.    We are waiting for another follow-up.
25    Q.    When is the last time you had seen Dr. Lin?


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1     A.    I would have to look at my calendar.
2     Q.    You can approximate with me.
3     A.    Probably four months ago.
4     Q.    How often do you see him?
5     A.    Every six months.
6     Q.    Okay. And so when you leave the last appointment you set the
7           next appointment. Is that fair?
8     A.    Yes.
9     Q.    Okay. So you probably have one coming up here in a couple
10          months?
11    A.    Right.
12    Q.    All right. And at this time is Daniel still treating at
13          BioMed?
14    A.    Yes.
15    Q.    And is he still treating outpatient for mental health?
16    A.    Yes.
17    Q.    All right. And is it about the same, like is it still one
18          time a week for his mental health treatment?
19    A.    Yes.
20    Q.    And is it still three or four times a week for BioMed?
21    A.    Yes.
22    Q.    And is he still on methadone?
23    A.    Yes.
24    Q.    Is there a plan to discontinue the methadone that you are
25          aware of?


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1     A.    Yes.
2     Q.    Do you know when that might come to fruition?
3     A.    Well, it takes a while for you to get down to the minimal
4           where you can actually get off of it, so we are hoping within
5           the next year.
6     Q.    Okay. So he just keeps decreasing the dosage. Right?
7     A.    Correct.
8     Q.    Okay. And since September of 2021 have you become aware of
9           any alcohol use or alcohol abuse for Daniel?
10    A.    No.
11    Q.    Any drug use or drug abuse?
12    A.    No.
13    Q.    The medications that you have, do you distribute those
14          medications to him, or does he take them on his own?
15    A.    I put them in a pillbox for him.
16    Q.    Okay. And the same thing with the methadone?
17    A.    He can do that on his own.
18    Q.    All right. And does he? Does he keep that --
19    A.    Yes. Yes.
20    Q.    And no issues with him abusing that or taking too much of
21          it?
22    A.    Right, correct.
23    Q.    Okay.
24                       MS. BADALAMENTI: Why don't you give me five
25          minutes. I might be done, but let me check. Okay?


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 1                       THE WITNESS: Okay.
 2                       (Off the record 11:40 to 11:47 a.m.)
 3                       MS. BADALAMENTI: I do just have a couple more. Let
 4          me make sure everybody is here.
 5                       Pete, are you there?
 6                       MR. PEACOCK: (Indicating.)
 7                       MS. BADALAMENTI: Okay. She just got up for a sec.
 8                       THE WITNESS: The dog.
 9                       MS. BADALAMENTI: Oh, no problem.
10    BY MS. BADALAMENTI:
11    Q.    Okay. So I just have a couple more questions for you. We
12          talked about the hospitalization in September of 2021. I want
13          to ask you about a couple of others. First you told me about
14          a female mental health professional. Is that female by any
15          chance Julia Tucker?
16    A.    Yes.
17    Q.    Okay. That's the one that's more recent?
18    A.    No.
19    Q.    Okay. This is someone different?
20    A.    Yes, that was the beginning.
21    Q.    Okay. All right. So we will -- yeah, so we will still need
22          that name. John and the female more recent are two names that
23          we still need contact info for.
24                       Okay. And then I show hospitalizations. In March
25          of 2022 it looks like Daniel went into the emergency room


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1           intoxicated. Do you remember that?
2     A.    Yes.
3     Q.    And he needed sutures for his -- a cut on his arm?
4     A.    Yes.
5     Q.    What had happened?
6     A.    I believe it was the window incident.
7     Q.    So in March of 2022, how long was he in the hospital?
8     A.    I don't recall.
9     Q.    I have a note here that it looks like he is discharged, but it
10          looks like the date could be wrong, but -- is he there until
11          June, or is that wrong?
12    A.    That has to be wrong.
13    Q.    Okay. Yeah. Okay.
14                       Is this probably something he was there for a day or
15          two?
16    A.    Yes.
17    Q.    Okay. And he is intoxicated at that point, but is he on any
18          type of prescription or street drugs to the best of your
19          knowledge?
20    A.    No.
21    Q.    Okay. Is there any change in his treatment program after this
22          hospitalization?
23    A.    Yes.
24    Q.    What happens?
25    A.    More medications, more therapy.


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1     Q.    Okay. How long before this hospitalization had he started
2           using alcohol or abusing alcohol again?
3     A.    How long before?
4     Q.    Yep. Like was it days, weeks, months?
5     A.    Maybe a week.
6     Q.    And then I show another hospitalization in November of '22
7           where he is taken to the hospital for hallucinations. Do you
8           remember that?
9     A.    Yes.
10    Q.    What happened then?
11    A.    He was at a friend's house and came back, and that's the way
12          he was.
13    Q.    Okay. What was the friend's name?
14    A.    I don't remember.
15    Q.    He is diagnosed at that point with some sort of kidney issue.
16          Is that right?
17    A.    I think it was a liver issue.
18    Q.    Okay. Do you remember what it was?
19    A.    I don't remember.
20    Q.    Okay. I think that he is given a new medication for that
21          issue. Is that right?
22    A.    Yes.
23    Q.    Okay. Has there been any follow-up for liver or kidney
24          issues?
25    A.    Yes.


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 1    Q.    Who does he treat with for that?
 2    A.    Dr. Tayeb.
 3    Q.    Can you spell that?
 4    A.    T-a-y-e-b. And I'm trying to answer the questions to the best
5           of my ability. I know that the medical records would give you
6           a better definition of times, dates, medications.
7     Q.    Yeah, for sure. I just want to know what you know. You are
8           obviously not a doctor, so I appreciate it. And Dr. Tayeb,
 9          how long has he been treating? Would that have started then
10          in November of '22?
11    A.    Yes.
12    Q.    Okay. And how often does he see Dr. Tayeb?
13    A.    Every three months.
14    Q.    Okay. Any change in his liver or kidney issues since November
15          of '22?
16    A.    With medication, yes.
17    Q.    Improved, or worse?
18    A.    They are improved.
19    Q.    Okay. Then I have another hospitalization in May -- I'm
20          sorry, February of 2023, May there were two of them in 2023,
21          and August of 2023. Do you remember these hospitalizations?
22    A.    I don't recall.
23    Q.    These are for like reflux, and it appears to be ulcer and
24          irregular stomach issues. Are you familiar with those
25          issues?


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1     A.    I'm familiar with those issues.
2     Q.    Who treats for those issues?
3     A.    Dr. Tayeb.
4     Q.    Okay. During the March 2022 hospitalization there is a
5           diagnosis of bipolar disorder. Is that relayed to you?
6     A.    Related to me?
7     Q.    Yeah. Like does the doctor tell you that that's the
8           diagnosis?
9     A.    Yes.
10    Q.    And do you remember which doctor that is?
11    A.    Dr. Salem perhaps. Then again, I am -- it's been a lot.
12    Q.    Yeah. That's okay.
13                       Was that the first time that he had been diagnosed
14          with bipolar disorder, or was this something that had been
15          kind of long-standing?
16    A.    I don't recall.
17    Q.    Okay. And then in January of 2023 he sees Dr. Salem and there
18          is a diagnosis of a dental infection. Do you remember that?
19    A.    He had a toothache, yes.
20    Q.    Okay. Do you remember an infection?
21    A.    Yes.
22    Q.    Do you remember what tooth it was?
23    A.    No.
24    Q.    Do you know where he treated to follow up for that?
25    A.    No.


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1     Q.    When is the last time that you know of that he has seen a
2           dentist?
3     A.    I'm trying to get him in one now. They never call you back.
 4    Q.    Okay. So fair to say that since April of 2021 he has not seen
 5          a dentist?
 6    A.    Correct.
 7    Q.    Okay. All right. And then the last thing I want to do is go
 8          through the pictures and figure out if you were the one that
 9          took any of them.
10    A.    Okay.
11    Q.    So are you able to see my screen?
12    A.    Yes.
13    Q.    Okay. So I'm going to mark this as Exhibit 1. It is 15 pages
14          of photographs.
15                       So we will just start here with the first one. Is
16          this a photograph that you took?
17    A.    Yes.
18    Q.    Where was it taken, do you know?
19    A.    In the sunroom at my house.
20    Q.    At your house?
21    A.    Yes, at the house.
22    Q.    And do you remember about what time frame this was, like was
23          this after you picked him up from the hospital but before the
24          inoculation with Dr. Lin, or are you able to give me any time
25          frame?


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 1    A.    I'm going to say the next day I took it.
 2    Q.    Okay. So this is before he goes in on the 7th with Dr. Lin?
3     A.    Correct.
4     Q.    Okay. The next one here, do you recognize this photograph?
5     A.    Yes.
6     Q.    Did you take it?
7     A.    Yes.
8     Q.    Do you remember when?
9     A.    I do not.
10    Q.    Okay. The next one, page 3, do you remember this
11          photograph?
12    A.    Yes.
13    Q.    When do you think this was from? And you don't have to give
14          me a date as much as like this is after Dr. Lin but before
15          Dr. Carlos or after Dr. Carlos.
16    A.    This is after Dr. Carlos.
17    Q.    After Dr. Carlos, that is good enough. And so this would have
18          been the bandages that he is -- is it after the initial
19          surgery or after a follow-up appointment?
20    A.    That's the initial surgery. And I forgot to mention in this
21          picture I had to care for those wound and bandages, and put
22          the stuff on it, and make sure that he didn't -- and then
23          there is another picture too that I forgot that I had to
24          change the bandages prior to all of this even.
25    Q.    Okay. So the bandages that need to be changed, are they these


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 1          here, the bandages around his eye?
 2    A.    Yeah, there is another one I took too.
 3    Q.    So let's just talk about this one for a second. The bandages
4           that need to be changed, are they the two like Steri-Strips
5           around his eyes?
6     A.    Yes. Yep.
 7    Q.    And then we are on page 4. Did you take this photograph?
8     A.    Yes.
9     Q.    Do you know where this is?
10    A.    At the house.
11    Q.    Okay. At your house?
12    A.    Yes.
13    Q.    Okay. And is this again -- this is after Dr. Carlos?
14    A.    Yes.
15    Q.    All right. And you see those two Steri-Strips. Are there any
16          other bandages that had to be changed from this photograph?
17    A.    Just those ones on that one. I think the other bandages were
18          in between.
19    Q.    Okay. Then this is page 5. Did you take this photograph?
20    A.    Yes.
21    Q.    And is this at your home also?
22    A.    Yes.
23    Q.    And it looks to be about -- it looks like the same bandages.
24          Is it about the same time frame?
25    A.    It's about the same time frame, yes.


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 1    Q.    Okay. And then on page 6 it looks like some of the bandages
 2          have come off, but those two up top are still on there?
 3    A.    Correct.
 4    Q.    Did you take this photograph?
 5    A.    Yes.
 6    Q.    So this is probably after one of the Dr. Carlos follow-up
 7          visits. Is that fair?
 8    A.    Yes.
 9    Q.    Page 7. Did you take this photograph?
10    A.    Yes.
11    Q.    Do you know when, what the time frame is with this?
12    A.    I do not.
13    Q.    It looks like there is kind of an open cut here around that
14          eye. Does that help you to remember?
15    A.    Yes, this would be after Dr. Carlos, probably a week later.
16    Q.    Okay. And when the bandages come off. Right?
17    A.    Correct.
18    Q.    Okay. On page 8, did you take this photograph?
19    A.    Yes.
20    Q.    It looks to be about the same time frame. Would you agree
21          with that?
22    A.    A little bit before.
23    Q.    A little bit before. Okay.
24                       Page 9, do you recognize this photograph?
25    A.    Yes.


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 1    Q.    And what is the time frame of this photo?
 2    A.    That is before Dr. Carlos --
 3    Q.    Okay. What do you --
 4    A.    -- I think.
 5    Q.    You think it is after Dr. Lin, or before?
 6    A.    Well, that's Dr. Lin's doing.
 7    Q.    Okay. So this is after the Dr. Lin surgery that you're around
 8          for. Right?
9     A.    That's putting the globe in the eye.
10    Q.    Okay. And do you remember where this photograph was taken?
11    A.    Dr. Lin's office.
12    Q.    Okay. And so then here on page 10, do you remember when this
13          is from?
14    A.    Yes.
15    Q.    When?
16    A.    I want to say in September after he got his prosthetic and his
17          new glasses.
18    Q.    Okay. September of 2021?
19    A.    Yes.
20    Q.    So this is before or after that hospitalization?
21    A.    After.
22    Q.    Okay. All right. And then we have page 11 of this set. Do
23          you remember, did you take this photograph?
24    A.    Yes.
25    Q.    And who is in the picture?


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1     A.    That's Dan's son.
2     Q.    Is that Ethan?
3     A.    Correct.
4     Q.    Okay. And when did you take this photo?
5     A.    The following summer, so '22 -- '20 -- yeah, '22.
6     Q.    Okay. And then page 12, do you remember when this photograph
7           was from?
8     A.    That was in the beginning.
9     Q.    Is this like after the emergency --
10    A.    April.
11    Q.    -- room?
12    A.    Yeah, after the emergency room.
13    Q.    Okay. And is this at your house?
14    A.    Yes.
15    Q.    And you took the photo?
16    A.    Yes, and those are the ones -- yeah, this is the most care
17          here.
18    Q.    Page 13?
19    A.    Yes, and that one.
20    Q.    And page 12?
21    A.    Correct.
22    Q.    Right.
23    A.    Yes.
24    Q.    So on page 13, when is this from, the same time after the
25          emergency room, before Dr. Lin?


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 1    A.    Correct.
 2    Q.    Okay. And so there is some bandaging on the eye. Is that
3           something that you needed to change out?
4     A.    Yes.
5     Q.    Okay. And so what was required with that?
6     A.    To make sure that the bandages kept the wound clean.
7     Q.    Okay. And so that would be like from the 4th when you picked
8           him up through the 7th when he goes in with Dr. Lin?
9     A.    Correct.
10    Q.    Okay. And then on page 14, did you take this photograph?
11    A.    Yes.
12    Q.    Do you remember when this was?
13    A.    Yes, this would be -- this is before the globe. That's his
14          real eye in there.
15    Q.    Okay. And so this is between the emergency room and Dr. Lin's
16          surgery on the 7th?
17    A.    Yes.
18    Q.    Okay. And then here, page 15, do you remember taking this
19          photograph?
20    A.    Yes.
21    Q.    It's kind of hard to see.
22    A.    That's with the globe in. That's after Dr. Lin.
23    Q.    Okay. All right. Do you remember taking any photographs of
24          the injury or recovery or any limitations of Daniel other than
25          these 15 pages that we just went through?


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 1    A.    Not that I recall.
2                        MS. BADALAMENTI: Okay. I don't think I have any
 3          other questions. Some of the other attorneys might though.
 4                       MR. JONES: Just a couple of quick follow-ups.
 5                                   EXAMINATION
 6    BY MR. JONES:
 7    Q.    Ms. Badalamenti spent some time apparently looking at maybe
 8          some medical records without showing you any of those. Would
 9          actually reviewing the medical records help you to testify
10          accurately and honestly here today?
11    A.    Me?
12    Q.    Yes.
13    A.    Well, yes, it's hard to recollect dates, times, and --
14    Q.    She mentioned something about a report in one of those records
15          in August of 2021 where Daniel reported, quote, doing better.
16          Based on your observations has Daniel losing his eyeball been
17          beneficial to him?
18    A.    Absolutely not.
19    Q.    Do you have any knowledge if Daniel was using or tested
20          positive for drugs on the day of the incident at the
21          hospital?
22    A.    No, I do not.
23    Q.    You do not know about it, or do you not know if he tested
24          positive for drugs on the day of the arrest?
25    A.    I was never told that he tested positive for them. I don't


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 1    believe that he was.
 2                 MR. JONES:     All right.       Thank you.   Those are the
 3    questions that I had.
 4                 MR. PEACOCK:     I don't have any questions.           I don't
 5    think Mr. Jones would allow me to ask questions.
 6                 MR. JONES:     I wouldn't, but that's okay.
 7                 Anything else then, Raechel?
 8                 MS. BADALAMENTI:        Nothing else.     All set.
 9                 MR. JONES:     All right.       Thank you.
10                 THE REPORTER:     Counsel, would you like to place an
11    order for the transcript at this time?
12                 MS. BADALAMENTI:        Yes, whatever our normal order is.
13                 And then, Michael, we just have those two treaters
14    that she was going to follow up with.
15                 MR. JONES:     Okay.     That's fine.
16                 MS. BADALAMENTI:        I mean, I checked our notes and I
17    didn't see either one of them.             So the one is a female that is
18    new for mental health outpatient, and then John was the name
19    that she had.       I have a Dr. George, but I don't have a John,
20    so those two, John and then the female.
21                 MR. JONES:     Okay.     Sounds good.     I will see.      You
22    know, I don't mind.        I want you guys to have everything, so we
23    are not trying to hide anything.
24                 MS. BADALAMENTI:        Okay.     Sounds good.
25                 MR. JONES:    We will take a copy, Lori.


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 1     THE REPORTER:             Thank you.
 2     (Whereupon this remote deposition was concluded at
 3     12:06 p.m.)
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 1                                      CERTIFICATE
 2
 3    STATE OF MICHIGAN
 4
 5    COUNTY OF KENT
 6

 7                       I, LORI J. COPE, Certified Shorthand Reporter and
 8          Notary Public, do hereby certify that the foregoing matter was
 9          taken remotely before me.
10                       I FURTHER CERTIFY that this matter was taken in
11          shorthand and thereafter transcribed by me and that it is a
12          true and accurate transcript.
13                       IN WITNESS WHEREOF, I have hereunto set my hand this
14          20th day of June, of 2024, at Fremont, Michigan.
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17                                      LORI J. COPE, CSR-4113, RPR
18                                      Notary Public for Newaygo county
19                                      My Commission Expires:     3-25-2027
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